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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                     v.                                No. 22-cr-15 (APM)

  EDWARD VALLEJO,
                               Defendant.


                                  NOTICE OF JOINDER

       Defendant Edward Vallejo, through counsel, hereby gives notice that he adopts and joins

ECF 521, Defendant Thomas Caldwell’s Notice of New Authority and Supplemental Argument as

to Caldwell’s Motions for Judgment of Acquittal and New Trial.


April 14, 2023                                    Respectfully submitted,

                                                  /s/ Matthew J. Peed .
                                                  Matthew J. Peed (D.C. Bar No. 503328)
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